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                         UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,           CR. NO. 2:07-0248-05 WBS
13
                  Plaintiff,             ORDER
14
         v.
15
     FERNANDO VILLALPANDO,
16
                  Defendant.
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                                  ----oo0oo----
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21             On September 6, 2017, defendant Fernando Villalpando

22   filed a Motion to Reduce Sentence pursuant to 18 U.S.C. Section

23   3582(c)(2). (Docket No. 1585.)      The United States shall file a

24   response to defendant's motion no later than October 5, 2017.

25   Defendant may then file a reply no later than October 26, 2017.

26   The court will then take the motion under submission and will

27   inform the parties if oral argument or further proceedings are

28   necessary.
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1              IT IS SO ORDERED.

2    Dated:   September 7, 2017
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